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 4
 5   Attorney for Defendant, ABDEL BASET JAWAD
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                     )       CASE NUMBER: 1:06–CR-0365-LJO/DLB
                                                   )
11                         Plaintiff,              )       STIPULATION AND ORDER TO
                                                   )       CONTINUE MOTIONS HEARING
12   v.                                            )
                                                   )       Date:      Monday, September 24, 2012
13   ABDEL BASET JAWAD et al.,                     )       Time:      1:00 p.m.
                                                   )       Courtroom: Honorable Dennis L. Beck
14                         Defendant.              )
                                                   )
15
16          IT IS HEREBY STIPULATED by and between plaintiffs, the United States of America, and
17   the defendants by and through their respective counsel of record, that the time set for the Motions
18   Hearing on Monday, August 27, 2012 at 1:00 p.m. be moved to Monday, September 24, 2012 at 1:00
19   p.m. Defense moving papers that were due on July 23, 2012 be due on August 27, 2012 and the
20   Governments response that was due on August 13, 2012 be due on September 10, 2012. The reason
21   for this continuance is that counsel, Salvatore Sciandra, for Mr. ABEDL BASET JAWAD was unable
22   to complete moving papers due to other pressing legal matters.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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 1          The parties also agree that any delay resulting from this continuance shall be excluded in the
 2   interest of justice pursuant to 18 U.S.C. sections 3161(h)(1)(F), 3161(h)(8)(A) and 3161(h)(8)(B)(I).
 3                                                         Respectfully submitted,
 4
 5   DATED: August 3, 2012                                 /s/ Salvatore Sciandra
                                                           SALVATORE SCIANDRA
 6                                                         Attorney for Defendant,
                                                           ABDEL BASET JAWAD
 7
 8   DATED: August 3, 2012                                 /s/ Roger K. Litman
                                                           ROGER K. LITMAN
 9                                                         Attorney for Defendant,
                                                           ABDEL MUNIEN MOHAMAD JAWAD
10
11   DATED: August 3, 2012                                 /s/ Anthony P. Capozzi
                                                           ANTHONY P. CAPOZZI
12                                                         Attorney for Defendant,
                                                           NAJEH KAMAL JAWAD
13
14   DATED: August 3, 2012                                  /s/ Jeffrey T. Hammerschmidt
                                                           JEFFREY T. HAMMERSCHMIDT
15                                                         Attorney for Defendant,
                                                           HASAN SARAMA
16
17   DATED: August 3, 2012                                 /s/ Mark E. Cullers
                                                           MARK E. CULLERS
18                                                         Assistant United States Attorney
19
20   DATED: August 3, 2012                                 /s/ Henry Z. Carbajal, III
                                                           HENRY Z. CARBAJAL, III
21                                                         Assistant United States Attorney
22
23                                                 ORDER
            IT IS SO ORDERED.
24
            Dated:      August 9, 2012                       /s/ Dennis L. Beck
25 3b142a                                              UNITED STATES MAGISTRATE JUDGE
26
27
28
     U.S. v. JAWAD, et al.
     STIPULATION AND [PROPOSED] ORDER TO CONTINUE MOTIONS HEARING
     CASE NUMBER: 1:06–CR-0365-LJO/DLB                                                                   2
